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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

DORIS A. KAELIN, in her capacity as the ) Case Number: 4:18-cv-01044-HSG
Chapter 7 trustee of the estate of TECHSHOP, )

INC., )
)
Plaintiff, ) TECHSHOP’S MOTION TO DISMISS
)
vs. )
)
DAN RASURE, et al. )
)
Defendants.

 

 

 

Plaintiff, Doris A. Kaelin, in her capacity as the Chapter 7 trustee of the estate of
TechShop, Inc. (hereinafter “TechShop”) moves to dismiss the “cross-complaint” filed by
Defendants. The “cross-complaint” should be dismissed because it alleges fraud and fails to
comply with FED.R.CIV.P. 9(b)’s requirement of particularity and/or Iq'bal/Twombly.l

BACKGROUND
Procedural Posture

This suit Was filed on February 16, 2018 by TechShop, Inc. alleging trademark

infringement by Defendants Dan Rasure, TechShop 2.0 LLC, and TechShop 2.0 San Francisco

LLCl After an extension of time to respond has passed and on the eve of Plaintiff filing a motion

 

' For the purposes of this motion, the factual allegations of the “cross-complaint” are taken as
true, regardless of whether Plaintiff disputes them.

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for default, on May 15, 2018, Defendants responded with a motion to dismiss contending that the
intervening filing of a Chapter 7 bankruptcy petition deprived the Court of jurisdiction

On July 26, 2018, Defendants filed a “cross-complaint” naming TechShop, Inc., the
trustee, Daniel Woods, and J ames Newton as “cross-defendants.” Particularly relevant to this
motion are the Third and Fourth Claims alleging fraud and wire fraud. See Paras. 42-83.

On August 13, 2018, Plaintiff filed a First Amended Complaint naming the trustee as the
plaintiff Defendants have never filed an Answer.
Legal Standards

Pursuant to FED.R.CIV.P. 9(b):

In alleging fraud or mistake, a party must state with particularity the circumstances
constituting fraud or mistake, Malice, intent, knowledge, and other conditions of a
person’s mind may be alleged generally.

“[The Ninth Circuit] has interpreted Rule 9(b) to require that allegations of fraud are specific
enough to give defendants notice of the particular misconduct which is alleged to constitute the
fraud charged so that they can defend against the charge and not just deny that they have done
anything wrong.” Neubronner v. Milken, 6 F.3d 666, 671 (9th Cir. 1993) (internal quotation
marks and citation omitted). In short, a fraud claim must state “the who, what, when, Where, and
how” of the alleged conduct. Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997), and “set forth
an explanation as to Why [a] statement or omission complained of was false or misleading”, In re
GlenFed, Inc. Secs. Litig. , 42 F.3d 1541, 1548 (9th Cir, 1994) (en banc), superseded by statute on
other grounds as stated in Ronconi v. Larkin, 252 F.3d 423, 429 & n. 6 (9th Cir. 2001). Where
multiple defendants are accused of fraudulent conduct, the plaintiff must identify the role of each
defendant in the fraud. See Swartz v. KPMG LLP, 476 F.3d 756, 764-65 (9th Cir. 2007) (“Rule
9(b) does not allow a complaint to merely lump multiple defendants together but require[s]
plaintiffs to differentiate their allegations when suing more than one defendant and inform each

defendant separately of the allegations surrounding his alleged participation in the fraud.”).

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DISCUSSION

Frankly, it is very difficult to follow Defendants’ allegations and they are defective in
multiple ways.

Undifferentiated Alle,<zations

As noted above, fraud plaintiffs are required “to differentiate their allegations when suing
more than one defendant and inform each defendant separately of the allegations surrounding his
alleged participation in the fraud.” See Swartz v. KPMG LLP, 476 F.3d 756, 764-65 (9th Cir.
2007). Lumping fraud defendants together is not permitted.

All of the allegations of the “cross~complaint” lump the fraud defendants together both as
to the factual allegations and as to the alleged claims/relief As a general matter, the “cross-
complaint” uses the canned phrase “TSINC, Woods, and Newton” for the allegations. See Paras.
44, 49-51, 53, 55, 56, 59, 61-63, 65, 68-72, 74-76, 79-83. In a few instances, the “cross-
complaint” uses the phrases “Woods and TSINC” or “TSINC and Woods.”2 See Paras. 47 and
52 (emphasis added). In yet other instances, the fraud defendants are explicitly lumped together
as “cross-defendants.” See Paras. 66, 74, 77. See also Prayer for Relief. That is not allowed and
does not put the fraud defendants on notice of what is alleged with the “particularity” required by
the Rule.

Lack of Who What When Where and How

 

As noted above, a complaint alleging fraud must state “the who, what, when, where, and
how” of the alleged conduct. Cooper, 137 F.3d at 627 (9‘h Cir. 1997). The allegations of the
“cross-complaint” simply never provide the basic who, what, when, where, and how of the

alleged fraud.

 

2 The “cross-complaint” makes a distinction between, e.g., “Woods and TSINC.” Thus, the
“cross-complaint” does not make clear whether, in each instance involving TSINC, the allegation
is that someone other than Woods or Newton were acting for TSINC or not.

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J ust picking one allegation and analyzing it illustrates the defects. Paragraph 50 of the

“cross-complaint” states, in part:

Between November 17 and the termination on December 12, TSINC, Woods, and
Newton, and each of them: A) repeatedly led Rasure to believe that TSINC was
negotiating in good faith and intended to move forward to complete the
contemplated transaction with Rasure; and B) repeatedly promised to provide
Rasure and his team with information and documents Rasure needed for his due
diligence, including but not limited to accounting materials, UCC filings and lender
investor documents

First, who is the “who” in the allegation? Was it Mr. Woods, Mr. Newton, TSINC, a sub-
combination, or all of them? If TSINC is somehow included, that is a legal entity that can only
act through a natural person. Which person or persons? Moreover, because it is alleged that
whatever occurred occurred “repeatedly”, was there one person/entity on one occasion and
different/fewer/more persons/entities on other occasions? The “cross-complaint” does not
allege.

Second, for any particular person and instance, “wha ” did they say or communicate?
Was it: “I promise to get you the documents no later than Thursday”? Was it: “I promise to do
my best to get you the documents by Thursday?” Was it: “Let’s shoot for Thursday for
documents”? Was it: “I will work on documents”? Again, no specific statement or promise is
ever alleged.

Third, “when”? The allegation is “repeatedly” between November 17 and December 12.
With “particularity”, on which specific date(s) were promises or representations made by whom?
Again, the “cross-complaint” does not allege.

Fourth, “where” and “how”? The “cross-complaint” never provides the “how” of any
alleged promise or misrepresentation Was it oral and in-person, in writing and hand delivered,
sent through the mails, by phone, or over the Internet? If it was oral, “where” Was the speaker
and/or the listener? Again, the “cross-complaint” does not allege.

The allegations never provide any of the “particularity” information required and, without

that, the “cross-defendants” cannot even investigate the claims and can “just deny that they have

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done anything wrong.” Neubronner v. Milken, 6 F.3d at 671. Precluding that is the very purpose
of FED.R.C|V.P. 9(b). Every single allegation of the “cross-complaint” suffers from one or more
of these defects.

In sum the “cross-complaint” merely alleges that somebody or someone said or did
something at some time in some way and that Mr. Rasure alleges is fraudulent That is not what
FED.R.CIV.P. 9(b) requires.

Lack of Explanation of Why Statement/Omission Was False or Misleading

As indicated above, in addition, to the who, what, when, where, and how of the alleged
fraud, a complaint alleging fraud must “set forth an explanation as to why [a] statement or
omission complained of was false or misleading.” In re GlenFed, Inc. Secs. Litig., 42 F.3d at
1548. “The rule therefore precludes plaintiff from simply pointing to a statement by a defendant,
noting that the content of the statement ‘conflicts with the current state of facts,’ and concluding
that ‘the charged statement must have been false’ at the time it was made.” Id. (citing GlenFed,
42 F.3d at 1548). Instead, a plaintiff must set forth, as part of the circumstances constituting
fraud, an explanation as to why the disputed statement was untrue or misleading when made.
This can be done most directly by pointing to inconsistent contemporaneous statements or
information (such as internal reports) which were made by or available to the defendants
GlenFed, 42 F.3d at 1549. Moreover, “a plaintiff must point to facts which show that defendant
harbored an intention not to be bound by terms of the contract at formation.” Hsu v. OZ Optics
Ltd., 211 F.R.D. 615, 620 (N.D. Cal. 2002) (emphasis in original).

Mere subsequent failure to perform a contract/promise is not evidence of fraud. Instead,
the complaint must allege facts from which a Court can infer that the allegedly fraudulent
statements were false when made. Thus, a mere allegation that the fraud defendant did not
intend to honor its contract/promise does not suffice. Likewise, an allegation that the fraud
defendant did not perform a contract/keep a promise is not sufficient to allege that a fraud

defendant did not intend to perform a contract/keep a promise at the time the contract was

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formed/promise made. See also Muse Brands, LLC v. Gentz'l, 2015 WL 4572975 (July 28, 2015
N.D. Cal.) (Corely, J) (colleting cases).

In the present case, there is simply nothing other than allegations that the fraud
defendants did not intend to perform or perform. Thus, the “cross-complaint” fails to allege facts
from which the Court could infer that the unspecified promises/statements were false when
made.

Google GSuite Allegations

TechShop separately addresses the allegations with respect to Google GSuite charges and
Mr. Rasure’s credit card to highlight the defects of the “cross-complaint.” Paragraphs 51(A), 53,
57, 58, 62, 63, and 74 include Defendants’ allegations with respect to Google GSuite charges In
sum, it appears that those paragraphs allege that Mr. Rasure supplied credit card information to
Google for charges See, e.g., Para. 57 (“Rasure supplied credit card information . .. to
Google.”). Further, the “cross-complaint” alleges that Mr. Rasure intended for this to be a one-
time charge. ld. Thereafter, the “cross-complaint” alleges that Google charged Mr. Rasure
amounts that were “never authorized by Rasure.” See Para. 58.

Assuming that all of the factual allegations of the “cross-complaint” are true, as we must,
what does that have to do with TechShop, Woods, or Newton? There are simply no facts alleged
that TechShop, Woods, or Newton had anything to do with charges that were “never authorized
by Rasure.” How Google ’s alleged unauthorized charges are the result of some alleged fraud by
TechShop, Woods or Newton is unexplained or at least not plausibly alleged.3

If Mr. Rasure intends to accuse TechShop of perpetrating a fraud, he needs to do so with

facts (and a good faith basis for those alleged facts) and the particularity required by the Rules.

 

3 This may have to do with the fact that TechShop’s counsel has indicated that who/Which
computer provided the credit card information and recurring charge authorization information to
Google is something likely to be able to be discovered and established technically. TechShop’s
counsel has also indicated TechShop’s intention to challenge any claim that TechShop or Messrs.
Woods or Newton either supplied the credit card or authorized recurring charges as baseless
allegations made without evidentiary support.

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CONCLUSION
For all the reasons set forth above, the “cross-complaint” should be dismissed for failing

to comply with Fed.R.Civ.P. 9(b) and/or Iqbal/Twombly.

Dated: August 16, 2018 Respectfully submitted,

d

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